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                           United States District Court
                           WESTERN DISTRICT OF TENNESSEE
                                  Western Division

                              JUDGMENT IN A CIVIL CASE


COLUMBUS M. JOYCE,

              Plaintiff,
                                                 CASE NUMBER: 18-2848-JDT-cgc
v.

SHELBY COUNTY, ET AL.,

              Defendants.


Decision by Court. This action came before the Court and the issues have been
considered and a decision has been rendered.

        IT IS ORDERED AND ADJUDGED that in accordance with the Order entered
in the above-styled matter on 4/25/2019, the Court DISMISSES Joyce’s complaint for
failure to state a claim on which relief can be granted, pursuant to 28 U.S.C. §§ 1915(e)
(2)(B)(ii) and 1915A(b)(1).

        It is also CERTIFIED, pursuant to 28 U.S.C. § 1915(a)(3), that any appeal in this
matter by Joyce would not be taken in good faith. Leave to appeal in forma pauperis is
DENIED. For analysis under 28 U.S.C. § 1915(g) of future filings, if any, by Joyce, this
the fourth dismissal of one of his cases as frivolous or for failure to state a claim. This
“strike” shall take effect when judgment is entered.



APPROVED:
                                           s/ James D. Todd
                                          JAMES D. TODD
                                          UNITED STATES DISTRICT JUDGE

THOMAS M. GOULD
CLERK

BY: s/ Evelyn Cheairs
DEPUTY CLERK
